Case 3:24-cv-00203-LS DOCGnr@HWéledine toleheich BGN8 Barrdnty Page 1 of 1
iv G ma il Erik Salaiz <salaiz.ep@gmail.com>

Welcome to Choice Home Warranty
1 message

CHOICE Warranty <confirm@choicehomewarranty.com> Tue, Apr 23, 2024 at 11:02 AM
Reply-To: noreply@choicehomewarranty.com
To: salaiz.ep@gmail.com

Logo | Choice Home
~ Warranty

ERIC SALAIZ,

Welcome to Choice Home Warranty! We are pleased to offer you coverage for one of your most
valuable assets - your home. We strive to make your life easier and we are here 24/7 to take your
requests for service.

Please take a moment to confirm your information below.

Coverage Address:
6320 Navajo Ave
El Paso, TX 79925

Mailing Address:

6320 Navajo Ave
El Paso, TX 79925-3408

Policy Information:

Plan: Total Plan
Service Call Fee: $85.00

Optional Coverage: None

Total: $49.25 per month
Sales tax paid: $0

Total paid today: $49.25

» Click to view, download or print a copy of your policy.

Account Center Login Information:

Username: salaiz.ep@gmail.com
Policy Number: 900022684

You may download an electronic copy of your policy, including the terms of service, from the
CHW Account Center.

To obtain the most value from your new CHW policy, take a moment to read and understand your
coverage. Please feel free to contact us if you have any questions or need clarification on your
warranty policy. We look forward to providing you the quality of service our customers have come
to expect from Choice Home Warranty.

The CHW Sales Team

Exhibit A
